        Case 25-30155 Document 83-5 Filed in TXSB on 05/16/25 Page 1 of 9




                                 E-MERGER.LAW
                                   DEBORAH L. CRAIN, Attorney at Law
                                      E-mail: deborah@e-merger.law
                                           03 / 26 / 2025
                                     Date:___________________

VIA ELECTRONIC SIGNATURE
Company Name:

 Alliance Farm and Ranch LLC
_______________________________________


           Bankruptcy - Alliance Farm and Ranch LLC
       Re: __________________________________________________________
       Reason you are requesting legal services

Dear Client:

        We are pleased that you have requested the legal services of Deborah L. Crain and E-Merger
Law, PLLC, a Professional Limited Liability Corporation (the “Firm”), and thank you for the
opportunity to be of service. The purpose of this letter is to set forth the scope of our engagement as
legal counsel with you, (the “Client”), to confirm that we are in mutual agreement with respect to that
engagement, the terms and conditions are described in this Retention Agreement, this includes
financial arrangements, and to verify the approval of the Client of such financial arrangements as set
forth below:

   1. Engagement: The Client hereby retains and employs the Firm as its attorneys to represent the
      Client in matters related to the Client’s interests in providing legal services, the Firm is willing
      to accept the representation of the Client in the above captioned matter, as well as additional
      items that may be designed for Client’s approval at a later date. The Firm will represent the
      Client as an individual and an entity when appropriate for the matter. The parties agree and
      understand that there may be many varying and disparate claims in this specific matter, and by
      signature hereto, they waive any potential conflict in and between them in the prosecution of
      this matter whether because of separate causes of action, distinct claims, or that one set of
      attorneys is representing multiple parties in a complex commercial transaction.

   2. No Waiver of the Firm’s Privilege and Advanced Waiver of Conflicts of Interest. The
      Firm represents many clients and handles a great number of complex matters. As a result,
      thereof, from time-to-time issues may arise that raise questions under attorneys’ professional
      conduct rules, including possible disputes with a client and conflicts of interest issues. When
      such issues arise, we generally seek the advice of our Risk Management Counsel, Professional
      Responsibility Partner, or General Counsel. We consider such consultations to be protected
      from disclosure under the attorney-client privilege. Although some courts have limited this
      privilege under certain circumstances, we believe that it is in both our clients’ and the Firm’s
      interest that we receive expert analysis of our obligations. Accordingly, as part of our
      agreement concerning our representation, the JOINT CLIENTS agree that if the Firm
      determines, in its own discretion, it is either necessary or appropriate to consult with its counsel
      (either the Firm’s Risk Management Counsel, Professional Responsibility Partner or General
      Counsel or, if it chooses, outside counsel), the Firm has the JOINT CLIENTS’ consent to do
      so and the JOINT CLIENTS further agree that the Firm’s on-going representation of the JOINT


                                                                  Doc ID: 2716a1306ad2ee49ec0642b7854d1ec785a20da5
        Case 25-30155 Document 83-5 Filed in TXSB on 05/16/25 Page 2 of 9




        CLIENTS shall not result in a waiver of any attorney-client privilege that the Firm has to
        protect the confidentiality of the Firm’s communications with such counsel.

    3. Joint Clients. As referenced above, our Firm represents many other companies and
       individuals. Thus, during the time we are representing the JOINT CLIENTS, we may also
       represent other present or future clients in disputes or transactions adverse to the JOINT
       CLIENTS that are unrelated to this representation. Based on the foregoing, JOINT CLIENTS
       agree that our representation of it in this matter will not disqualify our Firm from opposing it
       in other matters, including litigation, that are unrelated to the subject matter of this
       representation, and the JOINT CLIENTS consent to any conflict of interest with respect to
       those representations. We agree, however, not to use any proprietary or other confidential
       information of a nonpublic nature concerning Client acquired by us as a result of our
       representation of it to its material disadvantage in connection with any litigation or other matter
       in which we are opposed to it.

                                                                                        $15,000.00
    4. Retainer Deposit: The Client agrees to transfer a retainer (“Retainer”) of _______________
       to the Firm, in advance, to be held in trust. Once received, the Retainer will be applied to fees
       and expenses due to the Firm when it renders its monthly statements. Client’s consent to our
       representation constitutes authorization for an instruction to the Firm to draw against the
       Retainer funds and deposit any amount necessary to: 1) compensate the Firm for the services
       actually performed; and 2) reimburse the Firm for expenses actually incurred on Client’s behalf
       as shown on the statements. After the services are concluded, and if there are funds left in the
       Firm’s trust account, they will be refunded to Client. The Client shall be billed the normal
       hourly rates as set forth on the Fee Schedule (“Fee Schedule”) attached hereto, depending upon
       the experience level of the attorney performing the work. Deborah Crain will be the lead
       attorney and point of contact on the Client’s matters. Mrs. Crain currently bills at
       $600.00 per hour in 1/10th of an hour increments. Other attorneys, of counsel, and contract
       attorneys shall be billed according to the Fee Schedule and utilized at the discretion of the Firm.
       The initial retainer, flat fees, or budgets quoted, if any, are an estimate of labor and expenses
       for any given matter. Certain matters may involve subsequent labor and expenses due to
       necessary correspondence and filings with courts, regulatory agencies, or opposing parties.
       The Firm will keep the Client informed of the possibility of same, and the Client shall be
       responsible for such costs as they occur. The Client understands that once the initial
       retainer deposit is depleted, if it is not replenished then the attorney and the Firm have
       the right to terminate the legal representation. We will ask you to maintain a card on file
       that can be charged for any additional amounts. You will always, however, have a right to
       inspect the bill and ask any questions as you deem appropriate.

    5. Other Legal Staff. The Client understands that the Firm may use paralegals, legal assistants,
       and law clerks to perform services on its behalf which will be billed to the Client at hourly
       rates in accordance with industry standards. The Client also understands that these rates may
       be adjusted from time to time, but not more often than once each calendar year. We will
       provide you with notice of fee increases on this matter, although it is standard for the firm not
       to increase the rates on a particular matter, but to make those increases in the new year for any
       new matters that you bring to us. The Client agrees that in addition to the above attorney fees,
       all reasonable travel expenses and other reasonable out-of-pocket expenses directly incurred in


                                               Page 2 of 7

Representation Agreement
Initials _____
                                                                   Doc ID: 2716a1306ad2ee49ec0642b7854d1ec785a20da5
        Case 25-30155 Document 83-5 Filed in TXSB on 05/16/25 Page 3 of 9




        the representation defined above shall be paid by the Client. The other rates currently
        implemented by the Firm:

            a.   Senior Attorney: $535.00 per hour
            b.   Associate (at or more than 5 years experience): $500 per hour
            c.   Junior Associate (1-5 years) $300-$450 per hour
            d.   Paralegals (junior paralegals to experienced): $135-$175 per hour

    6. Settlement: Any settlement or recovery of funds related to the Client’s matters shall be paid
       to the Firm’s IOLTA account. Client gives the attorney and the Firm “Power of Attorney” over
       any settlement checks. The Firm may advance any or all of the expenses necessary in the
       investigation, preparation, and prosecution of this matter and those expenses reimbursed during
       the matter or withdrawn from the Settlement Funds. The expenses contemplated hereunder
       include, but are not limited to, court costs, consultant costs, bonds, costs of records, transcripts
       or depositions, long distance telephone calls, reproduction charges, demonstrative aids,
       facsimile charges, photographs, expert witness fees, witness fees, investigation fees, express
       mail fees, travel expenses and bank interest charges on monies advanced on behalf of Client.

    7. Billing: The Client agrees to be, from time to time at the discretion of the Firm, billed for such
       fees, expenses, and costs described in itemized invoices timely prepared by the Firm and
       delivered to the Client. Client shall pay such billings upon receipt. If the Client provides credit
       card details for retainer deposits or invoice payments, the Client authorizes the firm to pay
       invoices in the amounts due as they become due using said credit card unless alternative
       payment methods are approved by the Firm. If any bill is not paid when due, the Client agrees
       to pay compound interest at the rate of 3% per month. The bill is deemed “late” for this
       paragraph if not paid within ten days of receipt. Additionally, while the Firm typically
       implements monthly billing, due the to nature and demands of your matter, we may, in our
       discretion, ask for an additional deposit towards your matter. If we see the matter balance in
       trust is low and we know there is work to be done that will not be covered by the trust balance,
       the Firm will ask for an additional amount consistent with the then additional work that is to
       be done. Litigation is very uncertain, and there is no way to project the exact amount of costs
       that will be incurred by the Client. If the Firm is forced to take action to collect such fees, the
       Client agrees to bear the cost of collection, including costs of collection proceedings and
       reasonable attorney fees. In the event of a settlement or recovery in favor of the Client, any
       remaining or outstanding fees, costs, and expenses will be satisfied out of Client's share of any
       settlement or recovery prior to distribution of remaining settlement or recovery to Client. The
       Client is solely responsible and shall notify our office of any change in physical and electronic
       addresses or contact information. Failure to do so may result in missed invoices and notices
       from our office, as well as possible delay or denial in the adjudication of your case, application,
       filing, or dispute.

    8. Partnership with Client: The Firm views our representation of the Client in the nature of an
       interactive “partnership” which will be most beneficial if both Client and Firm communicate
       effectively and strive to work synergistically. By agreeing to our representation, the Client
       agrees to cooperate and assist the Firm in carrying out the Client’s projects. In turn, the Firm
       agrees to represent the Client zealously, give the Client and its projects the attention, time, and
       resources required to complete the Client’s projects in a timely manner. The Client understands

                                                Page 3 of 7

Representation Agreement
Initials _____
                                                                   Doc ID: 2716a1306ad2ee49ec0642b7854d1ec785a20da5
        Case 25-30155 Document 83-5 Filed in TXSB on 05/16/25 Page 4 of 9




        the Firm makes no guarantees regarding success or completion dates of the Client projects, as
        there are numerous factors that affect said process. However, the Firm will perform the best
        legal services with knowledgeable and experienced professionals and will advise the Client of
        the possible positive and negative consequences and risks of various legal strategies available
        to the Client.

            a. The Client is advised that State Bar and related regulatory organizations in the
               jurisdictions are licensed to investigate and prosecute professional misconduct
               committed by attorneys. Although not every complaint against or dispute with a
               lawyer involves professional misconduct, these agencies may provide you with
               information. Contact details per jurisdiction (where Ms. Crain is licensed):
                    i. Texas: 800-932-1900
                   ii. Louisiana: Disciplinary Counsel, 4000 South Sherwood Forest Blvd., Suite
                       607, Baton Rouge, Louisiana 70816-4388, www.ladb.org

    9. We will not Advance False or Fictitious Narratives for the Client: Pursuant to Section 9.001
       et seq. of the Texas Civil Practice & Remedies Code and the Texas Rules of Civil Procedure,
       Rule 13, the signature of an attorney on any pleading or pleadings, motion or other paper means
       that, to the best of the attorney's knowledge, information and belief formed after reasonable
       inquiry, the instrument is not groundless or brought in bad faith or brought for the purpose of
       harassment. The rule further provides that, should an attorney or a party bring a fictitious suit
       as an experiment to get an opinion of the court or file any fictitious pleading in a cause for such
       a purpose or make statements in pleadings which are known to be groundless and false for the
       purpose of securing a delay of the trial of the cause, the attorney shall be guilty of a contempt
       of the court. "Groundless" for the purpose of Rule 13 means that there is no basis in law or
       fact and is not warranted by good faith argument for the extension, modification or reversal of
       existing law. The Federal Rules of Civil Procedure have similar provisions in Rule 11.

    10. Implications of the Texas Rules: In light of Section 9.001, Civ. Prac. & Rem. Code, Rule 13
        of the Texas Rules of Civil Procedure and Rule 11 of the Federal Rules of Civil Procedure, the
        Client agrees that the Firm will not advance any spurious claims of fact or law in the
        advancement of the claim covered by this engagement agreement. In the event of a conflict
        between the Firm and the Client as to whether a proposed course of action violated or purports
        to violate these three (3) rules, or any of them, resolution of that conflict shall be solely vested
        in the Firm. Upon any violation by the Client of these rules, the Firm may treat this contract
        as breached, may withdraw from engagement, may withdraw from the litigation and shall be
        entitled to whatever rights the Firm would otherwise have for breach of contract. Ms. Crain
        deems these as a “minimum” and holds herself and those who work for her to the highest ethical
        standards.

    11. Termination of Firm: If the Client should, at any time, become displeased or dissatisfied with
        any aspect whatsoever of the legal representation of the Firm, or if the Client should at any
        time have any serious question concerning that representation, the Firm requests that the Client
        immediately notify the undersigned of relevant facts giving rise to such dissatisfaction or
        question so that the Firm may promptly address any issues that may arise.



                                                Page 4 of 7

Representation Agreement
Initials _____
                                                                    Doc ID: 2716a1306ad2ee49ec0642b7854d1ec785a20da5
        Case 25-30155 Document 83-5 Filed in TXSB on 05/16/25 Page 5 of 9




    12. No Guarantee: IT IS AGREED THE FIRM HAS NOT MADE ANY
        REPRESENTATIONS GUARANTEEING THE FAVORABLE OUTCOME OF ANY
        LEGAL ACTION OR CLAIM THAT MAY BE FILED OR WHICH MAY ARISE.

    13. What happens when the representation ends: The Client understands that it has the right to
        discharge the Firm for any reason at any time. The Client understands that the Firm may
        withdraw from representing the Client for any reason at any time, such reasons including, but
        not limited to the following:
            a. if the Client fails to make timely payment, or
            b. if the Client misrepresents or fails to disclose material facts.
            c. The Client agrees that if the Client discharges the Firm, or if the Firm withdraws from
                representing the Client for any reason, including the non-payment of fees and costs as
                they are due under this Agreement, the Client will remain liable for all fees, costs, and
                expenses incurred under this Agreement. In such an event, Client’s currently
                outstanding fees shall be finalized and invoiced to the Client, payable upon receipt. All
                previous or current invoices shall become immediately due.

    14. Full Authority to Act: The Client hereby authorizes the Firm to perform all services the Firm
        deems necessary to this representation and the Client acknowledges that the Firm has made no
        promises or guarantees to the Client, other than those represented in this Engagement Letter.

    15. Other Attorneys or Other Professionals (like Experts): From time to time, the Firm may
        need to hire other attorneys to assist in your matter (especially if the matter has implications in
        another jurisdiction). Client gives complete Power of Attorney to the Firm and Ms. Crain to
        hire any other professionals as needed to properly assist on your matter. The Client shall bear
        the full responsibility of the cost of those professionals (including experts).

    16. Tax Advice: The Client is advised to obtain independent and competent tax advice regarding
        its legal matters since legal transactions can give rise to tax consequences. The Client should
        have its public accountant or tax attorney determine if the legal work that is to be performed
        under this agreement, has or may have tax implications or consequences to the Client or any
        of the Client’s interest. This engagement does not involve tax or securities advice. The
        undersigned Firm and its attorneys have not agreed to render any tax advice and are not
        responsible for any advice regarding tax matters or preparation of tax returns or other filings,
        including, but not limited to, state and federal inheritance tax and income tax returns.
        Furthermore, the Client should obtain professional services regarding the valuation and
        location of all assets which may be the subject of a legal matter including but not limited to
        acquisition, employment benefit, and profit-sharing rights that may be controlled by any other
        party to the legal matter. This engagement does not involve tax or securities advice.


    17. Software and Artificial Intelligence: Unless otherwise advised by the Client in writing, Client
        agrees and consents to the Firm using LLM systems, a form of Artificial Intelligence, for
        various legal and administrative functions, including but not limited to, drafting and editing,
        research assistance, and administrative support. However, the Firm does not use any “open
        source” AI, and uses verification methods (like pulling case law cited to make sure that the
        case says what the AI said). We “trust and verify”.

                                                Page 5 of 7

Representation Agreement
Initials _____
                                                                   Doc ID: 2716a1306ad2ee49ec0642b7854d1ec785a20da5
        Case 25-30155 Document 83-5 Filed in TXSB on 05/16/25 Page 6 of 9




    18. Governing Law: This Agreement shall be construed and interpreted in accordance with the
        laws of the State of Texas, with the exception of its conflict-of-laws provisions.

    19. Mediation: Any controversy, claim, demand, complaint, or action (hereinafter “Claim”)
        whether based on contract, tort, statute or other legal or equitable theory arising out of or related
        to this Agreement (including any amendments, annexations, and extensions) or the breach
        thereof shall be settled by consultation and/or mediation between the parties. If initial
        consultations are unsuccessful, the Parties shall attend mediation. Either Party may request
        mediation. The Parties shall attend mediation upon the selection of a mutually agreeable
        mediator and attempt in good faith to resolve the dispute through confidential, nonbinding
        mediation. If the parties cannot reach an agreement as to a mediator, the parties may file suit
        for the purpose of the court appointing a mediator. Any Party who does not attempt mediation
        to resolve a dispute arising from this Agreement is not entitled to be awarded attorney’s fees,
        even if he or she is the prevailing Party.

    20. Texas Rules to Apply: In the event of failure of such consultations/mediation within sixty (60)
        days (unless otherwise extended by mutual agreement of the parties) after receipt of the written
        notice of such Claim, then any such Claim shall be settled in accordance with Section 151.001
        et seq. of the Texas Civil Practices and Remedies Code. The complaining party shall file a
        petition in Fort Bend County District Court, and that petition shall be abated pending the
        decision of the judge. The proceeding shall be conducted in compliance with the Texas Rules
        of Civil Procedure and the Texas Rules of Evidence. The proceeding shall be held in Fort Bend
        County, Texas. Both parties agree to waive the disallowance of an associate judge. The
        proceeding shall determine the Claim of the parties and render a final award in accordance with
        the substantive law of the State of Texas. The judge shall set forth the reasons for the judgment
        in writing, and shall, at the request of either party, prepare findings of fact and conclusions of
        law to be provided to each party. An award or ruling by the judge shall be entered as a judgment
        of record in the abated judicial proceeding and shall be fully subject to appeal as if it was tried
        in the court in which the petition was initially filed.

    21. Prevailing Party: In the event of any litigation arising out of this Agreement, the prevailing
        party shall be entitled to receive from the losing party an amount equal to the prevailing party's
        costs incurred in such litigation, including, without limitation, the prevailing party's attorney's
        fees, costs and disbursements.

    22. Force Majeure: If the performance of either Party under this Agreement is prevented,
        hindered, delayed or otherwise made impracticable by reason of strike, pandemic, flood, riot,
        fire, explosion, war or any other casualty or cause beyond the control of General Contractor
        (hereafter called “Event”), and which cannot be overcome by reasonable diligence and without
        unusual expense, that Party is excused from the performance to the extent that it is necessarily
        prevented, hindered or delayed by the Event and for so long as the Event continues to prevent,
                                                 Page 6 of 7

Representation Agreement
Initials _____
                                                                     Doc ID: 2716a1306ad2ee49ec0642b7854d1ec785a20da5
        Case 25-30155 Document 83-5 Filed in TXSB on 05/16/25 Page 7 of 9




        hinder or delay the performance. In such circumstance, this Agreement is suspended so long
        as and to the extent that the Event prevents, hinders or delays the performance that Party of its
        obligations. (b) If an Event occurs, either Party impacted by the Event shall, as soon as
        reasonably practicable thereafter, notify the other Party in writing via email and advise the
        other Party of the nature and extent of the force majeure condition, i.e., the Event, referred to
        in subparagraph (a) of this paragraph.


    23. Severability: If any provision of this Agreement is held illegal, invalid, or unenforceable, such
        illegality, invalidity, or unenforceability will not affect any other provision hereof. Such
        provision shall, in such circumstances, be deemed modified only to the extent necessary to
        render the problematic provision and all remaining provisions enforceable.

    24. Signed in Counterparts: This Agreement may be executed simultaneously in one or more
        counterparts, each of which shall be deemed an original, but all of which together shall
        constitute one and the same instrument. This agreement shall be effective upon the deposit of
        retainer funds, if any, and the signatures of all parties.

        We greatly appreciate the opportunity to be of service to you and your interests. We are
confident our attorneys, staff, and business practices will provide a quality and efficiency of service
that will exceed your expectations. We look forward to getting to work.

       Sincerely,

       E-MERGER LAW, PLLC




        SIGNATURE:                                              DATE: 03 / 24 / 2025
                     DEBORAH CRAIN
                     ATTORNEY MEMBER ON BEHALF OF THE FIRM


       BY:

       SIGNATURE:                                               DATE: 03 / 26 / 2025




                                               Page 7 of 7

Representation Agreement
Initials _____
                                                                  Doc ID: 2716a1306ad2ee49ec0642b7854d1ec785a20da5
           Case 25-30155 Document 83-5 Filed in TXSB on 05/16/25 Page 8 of 9




                                         2025 Hourly fee agreement for new clients.pdf
                                         2025_Hourly_fee_a...r_new_clients.pdf
                                         2716a1306ad2ee49ec0642b7854d1ec785a20da5
                                         MM / DD / YYYY
                                           Signed


This document was requested from app.clio.com




                03 / 24 / 2025           Sent for signature to Alliance Farm and Ranch LLC -
                18:18:41 UTC             Bankruptcy (jerod.furr@alliance-energy.org) and
                                         E-Merger Law (deborah@e-merger.law) from
                                         summer@e-merger.law
                                         IP: 73.6.173.158




                03 / 24 / 2025           Viewed by E-Merger Law (deborah@e-merger.law)
                18:28:43 UTC             IP: 98.200.144.218




                03 / 24 / 2025           Signed by E-Merger Law (deborah@e-merger.law)
                18:28:54 UTC             IP: 98.200.144.218




                03 / 26 / 2025           Viewed by Alliance Farm and Ranch LLC - Bankruptcy
                18:41:47 UTC             (jerod.furr@alliance-energy.org)
                                         IP: 73.32.247.106
           Case 25-30155 Document 83-5 Filed in TXSB on 05/16/25 Page 9 of 9




                                         2025 Hourly fee agreement for new clients.pdf
                                         2025_Hourly_fee_a...r_new_clients.pdf
                                         2716a1306ad2ee49ec0642b7854d1ec785a20da5
                                         MM / DD / YYYY
                                           Signed


This document was requested from app.clio.com




                03 / 26 / 2025           Signed by Alliance Farm and Ranch LLC - Bankruptcy
                18:44:01 UTC             (jerod.furr@alliance-energy.org)
                                         IP: 73.32.247.106




                03 / 26 / 2025           The document has been completed.
                18:44:01 UTC
